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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DAVISON DESIGN &                                   )
DEVELOPMENT, INC.                                  )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )      CA No. 2:23-cv-644
                                                   )
MARIO SCORZA                                       )
                                                   )
       Defendant                                   )

                             DEFENDANT, MARIO SCORZA’S
                              NOTICE OF CROSS-APPEAL

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Defendant, Mario Scorza (“Scorza”) in the above styled and numbered

cause of action, files this, his Notice of Appeal, and appeals to the United States Court of

Appeals for the Third Circuit.

       Scorza appeals the award of attorney’s fees in this Court’s judgment of Jan 3, 2024, and

the denial of his Motion for New Trial and to Reconsider Amount of Judgment.




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                           Respectfully submitted,


                           /s/ Stacey L. Barnes___________
                           Stacey L. Barnes
                           sbarnes@kmd.law
                           William Yarbrough
                           wyarbrough@kmd.law
                           Vikesh Patel
                           vpatel@kmd.law
                           KEARNEY, MCW ILLIAMS & DAVIS, PLLC
                           55 Waugh, Suite 150
                           Houston, Texas 77007
                           Phone: (713) 936-9620
                           Fax: (713) 936-9321


                           John J. Myers
                           JMyers@eckertseamans.com
                           Eckert Seamans Cherin & Mellott, LLC
                           600 Grant Street, 44th Floor
                           Pittsburgh, Pennsylvania 15219
                           Phone: 412-566-5900
                           Fax: 412-566-6099

                           Attorneys for Defendant




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 8th day of March, 2024, a true and correct
copy of the foregoing instrument has been forwarded to all counsel of record and/or pro se
parties, by means of the Court’s electronic filing system, in accordance with the Rules of Civil
Procedure.

Justin T. Barron
Barron Law Office LLC
P.O. Box 493
Valencia, PA 16059
(412) 334-6312
jbarron@justinbarronlaw.com



                                                   /s/Stacey L. Barnes______
                                                   Stacey L. Barnes




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